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 6

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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10                                           ******
11   UNITED STATES OF AMERICA,                         CASE NO. 1:16-CR-00001 LJO-SKO

12                                   Plaintiff,        STIPULATION AND PROTECTIVE
                                                       ORDER BETWEEN THE UNITED
13                           v.                        STATES AND DEFENDANT LORITA
                                                       MARIE ROCHA
14   LORITA MARIE ROCHA,
                                                       COURT: Hon. Lawrence J. O'Neill
15                                  Defendant.

16
            TO THIS COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
17
            The Government (United States of America) by and through Henry Z. Carbajal,
18
     Assistant United States Attorney and Defendant LORITA MARIE ROCHA, by and through her
19
     counsel, Roger S. Bonakdar of the Bonakdar Law Firm, hereby stipulate and agree as follows:
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            WHEREAS, a Change of Plea hearing was conducted herein on July 27, 2017.
21

22          WHEREAS, at the July 27, 2017, Change of Plea hearing, Defendant Rocha entered a

23   Guilty plea on Count 1 of the indictment, Conspiracy to Commit Wire Fraud, in violation of 18

24   U.S.C. Section 1349.

25          WHEREAS, Sentencing in this matter is set for November 6, 2017, at 8:30 a.m.

26          WHEREAS, the Parties herein have stipulated and agreed to the removal of the

27   location monitoring device, and curfew conditions herein.

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                                           1
              STIPULATION RE REMOVAL OF LOCATION MONITORING DEVICE; ORDER
     Case 1:16-cr-00001-LJO-SKO Document 37 Filed 08/04/17 Page 2 of 2
             WHEREAS, the Parties further agree that all prior conditions of pretrial release remain
 1
     in full force and effect.
 2
             IT IS HEREBY STIPULATED by and between the parties herein, that the condition that
 3
     Ms. Rocha be on location monitoring shall be removed from her conditions of release.
 4
             IT IS FURTHER STIPULATED by and between the parties herein, that the curfew
 5
     conditions of pre-trial release shall be removed.
 6
             IT IS FURTHER STIPULATED that all prior conditions of pretrial release not modified
 7
     by this stipulation remain in full force and effect.
 8
             IT IS SO STIPULATED:
 9

10
     Dated: August 3, 2017                                  BENJAMIN B. WAGNER
11                                                          United States Attorney
12                                                     By: /s/Henry Z. Carbajal III
                                                           HENRY Z. CARBAJAL III
13                                                         Assistant United States Attorney
14
                                                            BONAKDAR LAW FIRM
15
     Dated: August 3, 2017                              By: /s/ Roger S. Bonakdar
16                                                          ROGER S. BONAKDAR
                                                            Attorney for Defendant
                                                            LORITA MARIE ROCHA
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19   IT IS SO ORDERED.
20
         Dated:     August 4, 2017                           /s/ Lawrence J. O’Neill _____
21                                                   UNITED STATES CHIEF DISTRICT JUDGE

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               STIPULATION RE REMOVAL OF LOCATION MONITORING DEVICE; ORDER
